       Case: 3:21-mj-00351-SLO Doc #: 10 Filed: 10/01/21 Page: 1 of 2 PAGEID #: 27




                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION AT DAYTON

 UNITED STATES OF AMERICA,                   :   Case No. 3:21-MJ-00351
                                             :
          Plaintiff,                         :   Magistrate Judge Sharon L. Ovington
                                             :
 vs.                                         :
 BRYCE ALLEN AXLINE,                         :
                                             :
          Defendant.                         :
                                             :


                                  REMOVAL ORDER


         This case came to be heard pursuant to Fed. R. Crim. P. 5(c)(3). Defendant herein

was arrested in this District on a warrant issued upon an Indictment in the United States

District Court, Eastern District of Tennessee, in Case No. 3:21CR114. Defendant

appeared in open Court on September 23, 2021, and after being advised of his rights,

waived his right to an identity hearing. The Court found the waiver to be knowing,

voluntary and intelligent. Defendant requested that a detention hearing be held in this

District. Subsequently, on September 28, 2021, a detention hearing was held. And the

Court ordered Defendant released under certain terms and conditions. Defendant

consented to videoconferencing for both hearings due to the COVID pandemic.

         IT IS ORDERED THAT THE DEFENDANT BE REMOVED TO THE

United States District Court for the Eastern District of Tennessee, where the charges are

pending against him, for any other proceedings, as ordered by that court.
   Case: 3:21-mj-00351-SLO Doc #: 10 Filed: 10/01/21 Page: 2 of 2 PAGEID #: 28




October 1, 2021                                s/Sharon L. Ovington
                                                Sharon L. Ovington
                                            United States Magistrate Judge




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